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                           UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF NEW YORK

 BOSS WORLDWIDE LLC, d/b/a ALGO
 ONLINE RETAIL,

                               Plaintiff,

                v.                                           C.A. No. 19-cv-2363 (VLB)

 BEAU CRABILL, THOMAS CRABILL, JR.
 and ALL OUT RAW LLC,

                               Defendants.


                                APPEARANCE OF COUNSEL

To: The Clerk of Court and all parties of record:

       I am admitted or otherwise authorized to practice in this Court, and I appear in this case

as counsel for Defendants Beau Crabill, Thomas Crabill, Jr. and All Out Raw LLC in the above-

captioned proceeding and request that all further pleadings and papers in this action be served

upon, and correspondence direct to, the undersigned counsel at the address provided below.

 Dated:    New York, New York                       Respectfully submitted,
           May 20, 2019
                                                    FISH & RICHARDSON P.C.




                                                    By:
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                                                          Attorney for Defendants Beau Crabill,
                                                          Thomas Crabill, Jr. and All Out Raw LLC
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                                     CERTIFICATE OF SERVICE

        I hereby certify that on May 20, 2019, I electronically filed the foregoing Notice of

Appearance with the Clerk of the Court using the ECF system, which will send notification of such

filing to the attorneys of record.


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Dated: May 20, 2019                          By: /s/Jennifer Mavronas
                                                   Jennifer Mavronas
